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                                  CERTIFICATE OF SERVICE

        I hereby certify that on the 10th day of February, 2011, I caused the foregoing

 Declaration of Jonathan D. Frieden as to Reasonableness of Attorneys’ Fees and Costs Incurred

 by Intersections Inc. and Net Enforcers, Inc., to be electronically filed with the Clerk of the Court

 using the CM/ECF system, which will then send a notification of such filing (NEF) to the

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